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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  4:07CR422
                              )
          v.                  )
                              )
FRANCISCO OLGUIN and          )                       ORDER
ROSA AMAYA-ELISALDE,          )
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on defendant Olguin’s

motion to continue trial (Filing No. 19), and on defendant Amaya-

Elisalde’s motion to continue trial (Filing No. 21).               The Court

notes plaintiff has no objection and that each defendant has

filed a written waiver of speedy trial (Filing Nos. 20 and 22,

respectively).   Accordingly,

           IT IS ORDERED that defendants’ motions are granted.

Trial of this action is rescheduled for:

                 Monday, March 17, 2008, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The parties will have additional time to pursue plea

negotiations or prepare for trial.        The ends of justice will be

served by continuing this case and outweigh the interests of the

public and the defendant in a speedy trial.             The additional time

between January 14, 2008, and March 17, 2008, shall be deemed
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excludable time in any computation of time under the requirement

of the Speedy Trial Act.     18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 11th day of January, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
